UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
V. Case No. 3:20-cr-86-TJC-JBT

JORGE PEREZ

VERDICT
1. With regard to Count One of the Indictment, which charges
Conspiracy to Commit Health Care Fraud and Wire Fraud, we, the Jury, find
JORGE PEREZ:
NOT GUILTY ___——s—s GUILTY KX.
If you found JORGE PEREZ not guilty of Count One, skip the next
question and proceed to consider Count Two below.
If you found JORGE PEREZ guilty of Count One, answer this question:
We, the Jury, unanimously find the following to be the Object of the Conspiracy
(choose one):
____ Health Care Fraud
____—~ Wire Fraud

x Both Health Care Fraud and Wire Fraud
2. With regard to Count Two of the Indictment, which charges Health
Care Fraud, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY x

3. With regard to Count Three of the Indictment, which charges
Health Care Fraud, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY X

4, With regard to Count Four of the Indictment, which charges
Health Care Fraud, we, the Jury, find JORGE PEREZ:

NOT GUILTY GuILTy >

5. With regard to Count Five of the Indictment, which charges Health
Care Fraud, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY X

6. With regard to Count Six of the Indictment, which charges Health
Care Fraud, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY Xx
7. With regard to Count Eight of the Indictment, which charges
Conspiracy to Commit Money Laundering, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY x

8. With regard to Count Eleven of the Indictment, which charges
Money Laundering, we, the Jury, find JORGE PEREZ:

NOT GUILTY GuItty 2

9. With regard to Count Thirteen of the Indictment, which charges
Money Laundering, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY

10. With regard to Count Fourteen of the Indictment, which charges
Money Laundering, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY

11. With regard to Count Seventeen of the Indictment, which charges
Money Laundering, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY
12. With regard to Count Nineteen of the Indictment, which charges
Money Laundering, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY

13. With regard to Count Twenty of the Indictment, which charges
Money Laundering, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY

14. With regard to Count Twenty-One of the Indictment, which
charges Money Laundering, we, the Jury, find JORGE PEREZ:

NOT GUILTY GUILTY

SO SAY WE ALL,

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DATE

 

 
